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Todd M. Friedman (216752)
Law Offices of Todd M. Friedman, P.C.
324 S. Beverly Dr., #725
Beverly Hills, CA 90212
Phone: 877 206-4741
Fax: 866 633-0228
tfriedman@toddflaw.com
Attorney for Plaintiff


                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLORADO

GARY GEISERT,                    ) Case No.
                                 )
Plaintiff,                       ) COMPLAINT FOR
                                 )   1. VIOLATION OF FEDERAL
       vs.                       )       FAIR DEBT COLLECTION
                                 )       PRACTICES ACT,
CREDIT SERVICE COMPANY,          )   2. VIOLATION OF COLORADO
INC.,                            )       FAIR DEBT COLLECTION
                                 )       PRACTICES ACT, AND
Defendant.                       )   3. TELEPHONE CONSUMER
________________________________ )       PROTECTION ACT


                            I. INTRODUCTION
      1. This is an action for damages brought by an individual consumer for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C.

§1692, et seq. (hereinafter “FDCPA”) and the Colorado Fair Debt Collection

Practices Act, Colorado Uniform Consumer Credit Code Colorado Uniform

Consumer Credit Code § 12-14-101 et seq. (hereinafter “CFDCPA”), both of

which prohibit debt collectors from engaging in abusive, deceptive, and unfair



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practices. Ancillary to the claims above, Plaintiff further alleges claims for

Defendant’s violations of the Telephone Consumer Protection Act., 47 U.S.C.

§227, et seq. (hereinafter “TCPA”).

                              II. JURISDICTION

      2.    Jurisdiction of this Court arises under 15 U.S.C. §1692k (d).

                                III. PARTIES

      3.    Plaintiff, Gary Geisert (“Plaintiff”), is a natural person residing in

Spokane county in the state of Washington, and is a “consumer” as defined by the

FDCPA, 15 U.S.C. §1692a(3) and Colorado Uniform Consumer Credit Code §

12-14-103(4). At all relevant times herein, Plaintiff was residing and received

collection calls from Defendant while residing in El Paso County in the state of

Colorado.

      4.    At all relevant times herein, Defendant, CREDIT SERVICE

COMPANY, INC., (“Defendant”) was a company engaged, by use of the mails

and telephone, in the business of collecting a debt from Plaintiff which qualifies

as a “debt,” as defined by 15 U.S.C. §1692a(5) . Defendant regularly attempts to

collect debts alleged to be due another, and therefore is a “debt collector” as

defined by the FDCPA, 15 U.S.C. §1692a(6).and Colorado Uniform Consumer

Credit Code § 12-14-103(6).

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                         IV. FACTUAL ALLEGATIONS

        5.    At various and multiple times prior to the filing of the instant

complaint, including within the one year preceding the filing of this complaint,

Defendant contacted Plaintiff in an attempt to collect an alleged outstanding debt.

        6.    Beginning in or around April of 2015, Defendant began making a

barrage of calls to Plaintiff.

        7.    Defendant often called from phone number 719-634-1357.

        8.    Defendant contacted Plaintiff in a manner that would constitute

harassment, annoyance, and abuse.

        9.    Defendant caused Plaintiff’s telephone to ring in a manner that

would constitute harassment.

        10.   On or around July 22, 2015, Plaintiff sent a notice of representation

to Defendant. Defendant has failed to respond at this time.

        11.   Furthermore, during all relevant times, Defendant used an

“automatic telephone dialing system”, as defined by 47 U.S.C. § 227(a)(1), to

place its repeated collection calls to Plaintiff seeking to collect the debt allegedly

owed.

        12.   Defendant’s calls constituted calls that were not for emergency
purposes as defined by 47 U.S.C. § 227(b)(1)(A).


        13.   Defendant’s calls were placed to telephone number assigned to a


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cellular telephone service for which Plaintiff incur a charge for incoming calls
pursuant to 47 U.S.C. §227(b)(1).


      14.    During all relevant times, Defendant did not have Plaintiff’s prior
consent to be contacted via an “automated telephone dialing system”.


      15.    Defendant’s conduct violated the CFDCPA and the FDCPA in

multiple ways, including but not limited to:

      a) Causing a telephone to ring or engaging any person in
         telephone conversation repeatedly or continuously with
         intent to annoy, abuse, or harass any person at the called
         number (Section 12-14-106 (1)(e));

      b) At any unusual time, place, or manner known or which
         should be known to be inconvenient to the consumer
         (Section 12-14-105 (1) (a));

      c) Causing Plaintiffs telephone to ring repeatedly or
         continuously with intent to harass, annoy or abuse Plaintiff
         (§ 1692d(5));

      d) Communicating with Plaintiff at times or places which were
         known or should have been known to be inconvenient for
         Plaintiff (§1692c(a)(1));

      e) Engaging in conduct the natural consequence of which is to
         harass, oppress, or abuse Plaintiff (§ 1692d and Section 12-
         14-106 (1)); and,

      f) Failing to provide Plaintiff with the notices required by 15
         USC § 1692g, either in the initial communication with
         Plaintiff, or in writing within 5 days thereof (§ 1692g(a)).

      16.    Defendant conduct violated the TCPA by:


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            a) using any automatic telephone dialing system or an artificial or pre-
               recorded voice to any telephone number assigned to a paging
               service, cellular telephone service, specialized mobile radio service,
               or other radio common carrier service, or any service for which the
               called party is charged for the call (47 USC §227(b)(A)(iii)).

      17.      As a result of the above violations of the FDCPA and TCPA Plaintiff

suffered and continues to suffer injury to Plaintiff’s feelings, personal

humiliation, embarrassment, mental anguish and emotional distress, and

Defendant is liable to Plaintiff for Plaintiff’s actual damages, statutory damages,

and costs and attorney’s fees.

                     COUNT I: VIOLATION OF FAIR DEBT
                       COLLECTION PRACTICES ACT

      18.      Plaintiff reincorporates by reference all of the preceding paragraphs.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully prays that judgment be entered

against the Defendant for the following:

               A.    Declaratory judgment that Defendant’s conduct violated the

               FDCPA;

               B.    Actual damages;
               C.    Statutory damages;
               D.    Costs and reasonable attorney’s fees; and,
               E.    For such other and further relief as may be just and proper.

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        COUNT I: VIOLATION OF THE COLORADO FAIR DEBT
                  COLLECTION PRACTICES ACT

      19.   Plaintiff reincorporates by reference all of the preceding paragraphs.

                           PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully prays that judgment be entered

against the Defendant for the following:

            A.     Declaratory judgment that Defendant’s conduct violated the

            CFDCPA;

            B.     Actual damages;
            C.     Statutory damages;
            D.     Costs and reasonable attorney’s fees; and,
            F.     For such other and further relief as may be just and proper.


COUNT III: VIOLATION OF TELEPHONE CONSUMER PROTECTION
                                       ACT

      20.   Plaintiff reincorporates by reference all of the preceding paragraphs.

      21.   To the extent that Defendant’s actions, counted above, violated the

TCPA, those actions were done knowingly and willfully

                           PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully prays that judgment be entered

against the Defendant for the following:

            A.     Declaratory judgment that Defendant’s conduct
            violated the TCPA;


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           B.    Actual damages;
           C.    Statutory damages for willful and negligent violations;
           D.    Costs and reasonable attorney’s fees,
           E.    For such other and further relief as may be just and proper.

         PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

           Respectfully submitted this 7th day of March, 2016.

                              By: s/ Todd M. Friedman
                              Todd M. Friedman
                              The Law Offices of Todd M. Friedman
                              324 South Beverly Dr.,
                              Beverly Hills, CA 90212
                              Phone: 877 206-4741
                              Fax: 866 633-0228
                              E-mail: tfriedman@attorneysforconsumers.com
                              Attorney for Plaintiff Gary Geisert




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